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 9
                                 UNITED STATES DISTRICT COURT
10
                             CENTRAL DISTRICT OF CALIFORNIA
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12
       CHELSEA HAMILTON, et al.,                 CASE NO. 5:17-cv-01415 AB (KKx)
13
                                                 STIPULATION OF DISMISSAL AS
14                 Plaintiffs,
                                                 TO REST BREAK CLAIMS AND
15                                               SECOND MEAL PERIOD CLAIMS
       v.
16                                               Date: April 2, 2019
       WAL-MART STORES, INC., a
17                                               Time: 8:30 AM
       corporation, WAL-MART
                                                 Place: Courtroom 7B
18     ASSOCIATES, INC., a corporation and
       DOES 1 through 50, inclusive,             Hon. André Birotte Jr.
19

20                 Defendants.
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            STIPULATION OF DISMISSAL AS TO REST BREAK CLAIMS AND SECOND MEAL PERIOD CLAIMS
     Case 5:17-cv-01415-AB-KK Document 281 Filed 04/14/19 Page 2 of 3 Page ID #:13048



 1           TO THE COURT AND THE CLERK OF COURT, PLEASE TAKE NOTICE THAT
 2     the parties to the above-referenced action hereby stipulate and agree as follows:
 3           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs Chelsea
 4     Hamilton and Alyssa Hernandez (collectively “Plaintiffs”) and Defendants Wal-Mart Stores,
 5     Inc. k/n/a Walmart Inc. and Wal-Mart Associates, Inc. (collectively “Wal-Mart”)
 6     (collectively the “Parties”) have reached a settlement with respect to the Rest Break Claims
 7     and Second Meal Period Claims subject to the terms of the Parties’ Settlement Agreement
 8     and Limited Release (“Agreement”). Accordingly, subject to the terms of the Parties’
 9     Agreements, the Parties hereby stipulate to the dismissal of the Rest Break Claims and
10     Second Meal Period Claims, with prejudice and with each party to bear their own costs,
11     expenses, and attorneys’ fees as to the Rest Break and Second Meal Period claims. No
12     further Court order is required.
13

14     Dated: April 14, 2019                   GREENBERG TRAURIG, LLP
15
                                                  /s/ Matthew R. Gershman
16                                             Attorneys for Defendants Wal-Mart Stores, Inc. and
                                               Wal-Mart Associates, Inc.
17

18
       Dated: April 14, 2019                   YOON LAW APC
19
                                          By     /s/ Kenneth H. Yoon
20

21                                             THE LAW OFFICES OF G. SAMUEL CLEAVER
22                                        By     /s/ G. Samuel Cleaver
23

24                                             FERNANDEZ & LAUBY, LLP
25                                        By / /s/ Brian J. Mankin
26
                                               Attorneys for Plaintiffs CHELSEA HAMILTON
27                                             and ALYSSA HERNANDEZ
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                                                    1
             STIPULATION OF DISMISSAL AS TO REST BREAK CLAIMS AND SECOND MEAL PERIOD CLAIMS
     Case 5:17-cv-01415-AB-KK Document 281 Filed 04/14/19 Page 3 of 3 Page ID #:13049



 1     Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), I hereby attest that Kenneth H. Yoon, Samuel
 2     Cleaver, and Brian J. Mankin on whose behalf this filing is jointly submitted, concurs in
       this filing’s content and has authorized me to file this document.
 3

 4     DATED: April 14, 2019                 GREENBERG TRAURIG, LLP
 5

 6                                        By /s/Matthew R. Gershman
                                             Attorneys for Defendants WAL-MART STORES,
 7
                                             INC. and WAL-MART ASSOCIATES, INC.
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            STIPULATION OF DISMISSAL AS TO REST BREAK CLAIMS AND SECOND MEAL PERIOD CLAIMS
